Case 2:04-cv-02181-.]PI\/|-tmp Document 105 Filed 06/15/05 Page 1 of 4 Page|D 146

 
  

F|I.ED 53":' _ __ D.fj.

lN THE UNITED sTATEs DisTRlCT COURT
FoR THE WESTERN DIsTRICT 0F TENNESSE@; 31 la l 5 gm |g: 35
WESTERN DIvlsIoN

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COMMODITY FUTURES TRADING ) =§LEEI<_!_ fL.S iit§$zm§;g
COMMISSION, ) '-)»/.D. Ot" fi\j, h)¢'s=; -.
)
Plaintiff, )
)
V' ) No. 04-2181 D/An
)
FXTRADE FINANCIAL, LLC, et al., )
)
Defendants. )

 

ORDER GRANTING MOTION TO COMPEL DISCOVERY

 

Before the Court is Plaintift’s Motion to Compel Discovery Against Defendants FxTrade
Financial, LLC; Jeft`rey A. Mischler; Lee N. Romano II; Mary Jo Sibbitt; Gordon J. Vandeveld;
and Reverie LLC (collectively “Defendants”) filed on May 19, 2005. Defendants failed to file a
response to the motion as required by Local Rule 7.2(a)(2). “Failure to timely respond to any
motion, other than one requesting dismissal of a claim or action, may be deemed good grounds
for granting the motion.” Local Rule 7.2(a)(2). As such, the Motion is GRANTED. All
Defendants shalle required to provide the initial disclosures or revised initial disclosures
requested in Plaintit`f"s Motion within l l days of entry of this Order.

Federal Rule of Civil Procedure 37 provides that the payment of reasonable expenses,
including attorney’s fees, is an appropriate sanction See Fed. R. Civ. P. 37. ln addition, “a court
may assess attorneys’ fees When a party has acted in bad faith, vexatiously, Wantonly, or for
oppressive reasons.” Diflon, 986 F.Zd at 266. The United States Supreme Court agrees With the
Dz'lfon court. See, e.g., Chambers v. NASCO, Inc., 501 U.S. 32 (1991); Roadway E)cpress, Inc. v.

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Case 2:04-cv-02181-.]PI\/|-tmp Document 105 Filed 06/15/05 Page 2 of 4 Page|D 147

P:per, 447 U.S. 752, 763 (1980) (“Both parties and counsel may be held personally liable for
expenses, ‘including attorney’s fees,’ caused by the failure to comply With discovery orders.”).
As such, for good cause shown, Defendants shall also be required to pay the reasonable expenses,
including attorney’s fees, Plaintiff incurred in filing the instant Motion. Plaintiff shall file an
affidavit listing the fees and expenses related to this Motion within ll days of entry of this Order.

Defendants shall each be liable for paying the fees and expenses, subject to the Court’s approval

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Dare: gm /5. N
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June 15, 2005 to the parties listed.

Notice of Distribution

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Case 2:04-cv-02181-.]P|\/|-tmp Document 105 Filed 06/15/05 Page 4 014 Page|D 149

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Honorable Bernice Donald
US DISTRICT COURT

